              Case 9:20-bk-10622-DS                   Doc 84 Filed 07/28/20 Entered 07/28/20 21:31:47                                      Desc
                                                       Main Document    Page 1 of 6



    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
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         Individual appearing without an attorney
         Attorney for: Debtor and Debtor-in-Possession

                                            UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA - NORTHERN DIVISIONDIVISION

    In re:                                                                      CASE NO.: 9:20-bk-10622-DS
BRIGHAM G. FIELD,                                                               CHAPTER: 11



                                                                                NOTICE OF LODGMENT OF ORDER IN
                                                                                BANKRUPTCY CASE RE: (title of motion 1):
                                                                                Motion for Relief from the Automatic Stay
                                                                                Under 11 U.S.C. Section 362
                                                                  'HEWRU V


PLEASE TAKE NOTE that the order titled Order Denying Motion for Relief from the Automatic Stay Under 11 U.S.C.
§ 362

was lodged on (date)           07/28/2020          and is attached. This order relates to the motion which is docket number 48                    .




1
    Please abbreviate if title cannot fit into text field.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                         Page 1                        F 9021-1.2.BK.NOTICE.LODGMENT
7/28/2020   Case 9:20-bk-10622-DS                  Doc 84 Filed 07/28/20
                                                              Lodged           Entered
                                                                     Order Upload (L.O.U) 07/28/20 21:31:47           Desc
                                                    Main Document       Page 2 of 6

                                             Bankruptcy LODGED ORDER UPLOAD FORM

                                                                                                               Tuesday, July 28, 2020




   C O N F I R M AT I O N :

    Yo u r L o d g e d O r d e r I n f o :
   ( 10283634.doc )
      A new order has been added




            Office: Northern Division
            C a s e Ti t l e : B r i g h a m G . F i e l d
            Case Number: 20-10622
            Judge Initial: DS
            C a s e Ty p e : b k ( B a n k r u p t c y )
            Document Number: 48
            On Date: 07/28/2020 @ 09:29 PM


   T h a n k Yo u !


   United States Bankruptcy Court
   Central District of California
   Edward R. Roybal Federal Building and Courthouse
   2 5 5 E a s t Te m p l e S t r e e t
   Los Angeles, CA 90012




https://ecf-ciao.cacb.uscourts.gov/UploadOrders/Default.aspx?cmCookie=1830367-17027-966750696586129.662354367850901&cmCaseType=bk&c…    1/1
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      Attorney for Debtor and Debtor-In-Possession
      Movant appearing without an attorney

                                             UNITED STATES BANKRUPTCY COURT
                                       CENTRAL DISTRICT OF CALIFORNIA -Northern DIVISION

 In re:                                                                       CASE NO.: 9:20-bk-10622-DS
                                                                              CHAPTER: 11

 BRIGHAM G. FIELD,                                                                    ORDER DENYING MOTION FOR
                                                                                    RELIEF FROM THE AUTOMATIC STAY
                                                                                          UNDER 11 U.S.C. § 362
                                                                              DATE: July 13, 2020
                                                                              TIME: 11:30 a.m.
                                                                              COURTROOM: 201
                                                                              PLACE: 1415 State Street, Santa Barbara, CA 93101


                                                              Debtor(s).
 Movant: Genova Capital, Inc.


1. The Motion was:                  Opposed              Unopposed               Not Prosecuted
2. The description of the Property or Nonbankruptcy Action to which this order applies is as follows (specify street address,
   legal description, personal property description or Nonbankruptcy Action):

    11802 Ellice Street, Malibu, CA 90265

          Real property in the unincorporated area of the County of Ventura, State of California, described as follows:

          PARCEL 1:
          LOT 6 OF TRACT NO. 4483, IN THE COUNTY OF VENTURA, STATE OF CALIFORNIA, AS PER MAP
          RECORDED IN BOOK 146, PAGE 19 THROUGH 22 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY
          RECORDER OF SAID COUNTY.

          EXCEPT ONE-EIGHTH OF MINERALS, OIL, PETROLEUM, ASPHALTUM, GAS, COAL AND OTHER
          HYDROCARBON SUBSTANCES, AS RESERVED BY MARBLEHEAD LAND COMPANY, IN DEED RECORDED
          NOVEMBER 27, 1940, IN BOOK 628, PAGE 87 OF OFFICIAL RECORDS.


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June 2014                                                               Page 1                                      F 4001-1.RFS.DENY.ORDER
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          PARCEL 2:
          NON-EXCLUSIVE EASEMENTS APPURTENANT TO PARCEL 1 ABOVE, ON AND OVER THE "COMMON
          AREA" AS DEFINED IN THE DECLARATION FOR ACCESS, USE, OCCUPANCY, ENJOYMENT, INGRESS
          AND EGRESS OF THE AMENITIES LOCATED THEREON. THE COMMON AREA IS FOR THE USE OF
          OWNERS OF LOTS WHICH ARE SUBJECT TO THE DECLARATION AND IS NOT FOR THE USE OF THE
          GENERAL PUBLIC.

          APN: 700-0-260-065



3. The Motion is denied:                 without prejudice              with prejudice            on the following grounds:
     a.         Based upon the findings of fact and conclusions of law made on the record at the hearing
     b.         Unexcused non-appearance by Movant
     c.         Lack of proper service
     d.         Lack of good cause shown for relief from stay
     e.         No stay is in effect under:
          (1)       11 U.S.C. § 362(c)(2)(A)
          (2)       11 U.S.C. § 362(c)(2)(B)
          (3)       11 U.S.C. § 362(c)(3)(A)
          (4)       11 U.S.C. § 362(c)(4)(A)
     f.         Other (specify):



4.        Movant may not file another motion for relief from the stay in this bankruptcy case absent a court order
          authorizing the filing of another motion.




                                                                           ###




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June 2014                                                               Page 2                                      F 4001-1.RFS.DENY.ORDER
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT will be served or was served (a) on
the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On July 28,
2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On July 28, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

DEBTOR
BRIGHAM G. FIELD
11802 ELLICE STREET
MALIBU, CA 90265-2494

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on ___________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                  [PURSUANT TO AMENDED GENERAL ORDER 20-02,
               COURTESY COPIES WILL BE DELIVERED BY MAIL IF PLEADING IS OVER 25 PAGES.]

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 July 28, 2020                  Layla Buchanan                                                  /s/ Layla Buchanan
 Date                           Printed Name                                                    Signature




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
     INTERESTED PARTY COURTESY NEF: Evan L Bardo evan.bardo@semlercompanies.com
     ATTORNEY FOR U.S. TRUSTEE (ND): Brian D Fittipaldi brian.fittipaldi@usdoj.gov
     ATTORNEY FOR CREDITOR BANC OF CALIFORNIA, NATIONAL ASSOCIATION: Daniel K Fujimoto
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     INTERESTED PARTY COURTESY NEF: chaes@marshackhays.com, chaes@ecf.courtdrive.com;
        cmendoza@ecf.courtdrive.com; cmendoza@marshackhays.com; kfrederick@ecf.courtdrive.com
     ATTORNEY FOR DEBTOR BRIGHAM G. FIELD: D Edward Hays ehays@marshackhays.com,
        ehays@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com; cmendoza@marshackhays.com;
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     UNITED STATES TRUSTEE (ND): United States Trustee (ND) ustpregion16.nd.ecf@usdoj.gov
     ATTORNEY FOR DEBTOR BRIGHAM G. FIELD: David Wood dwood@marshackhays.com,
        dwood@ecf.courtdrive.com; lbuchananmh@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
